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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS
                                      No. 10-034V
                                Filed: January 17, 2014
                                 (Not to be published)

***************************
NICOLE EARLES and WILLIAM                 *
PERRY, as biological parents and          *
personal representatives of the estate *
of KHALIL W. EARLES,                      *     Attorney Fees and Costs; Stipulation
                    Petitioners,         *
v.                                       *
                                         *
SECRETARY OF HEALTH                       *
AND HUMAN SERVICES,                      *
                    Respondent.           *
                                         *
***************************
Elaine Whitfield Sharp, Esq. Whitfield, Sharp & Sharp, Marblehead, MA for petitioners.
Althea Davis, Esq. U.S. Department of Justice, Washington, DC for respondent.

                        DECISION ON ATTORNEY FEES AND COSTS1

Vowell, Chief Special Master:

        In this case under the National Vaccine Injury Compensation Program,2 Special
Master Zane issued a decision on August 23, 2013, that awarded compensation
pursuant to the parties’ joint stipulation. Petitioners filed their first motion for attorney
fees and costs on December 11, 2013. On December 13, 2013, I was assigned this
case. On January 17, 2014, the parties filed a stipulation for attorney fees and costs.
The stipulation indicates that after informal discussions petitioners agreed to amend
their fee application and respondent does not object to the amended amount petitioners
are requesting. Additionally, pursuant to General Order #9, the stipulation notes that
petitioners incurred no personal litigation costs.

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post this decision on the United States Court of Federal Claims' website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), a party has 14 days to identify and
move to delete medical or other information, that satisfies the criteria in 42 U.S.C. § 300aa-12(d)(4)(B).
Further, consistent with the rule requirement, a motion for redaction must include a proposed redacted
decision. If, upon review, I agree that the identified material fits within the requirements of that provision, I
will delete such material from public access.
2
 The applicable statutory provisions defining the program are found at 42 U.S.C. § 300aa-10 et seq.
(2006).
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       I find that this petition was brought in good faith and that there existed a
reasonable basis for the claim. Therefore, an award for fees and costs is appropriate,
pursuant to 42 U.S.C. §§ 300aa-15(b) and (e)(1). Further, the proposed amount seems
reasonable and appropriate. Accordingly, I hereby award the total $56,500.003 in
the form of a check payable jointly to petitioners and petitioners’ counsel of
record, Elaine Whitfield Sharp, for petitioners’ attorney fees and costs.

        The clerk of the court shall enter judgment in accordance herewith.4


IT IS SO ORDERED.

                                                 s/ Denise K. Vowell
                                                 Denise K. Vowell
                                                 Chief Special Master




3
 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, 42 U.S.C. § 300aa-15(e)(3) prevents an attorney from charging or collecting fees (including
costs) that would be in addition to the amount awarded herein. See generally Beck v. Sec’y, HHS, 924
F.2d 1029 (Fed. Cir.1991).
4
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek review.
See Vaccine Rule 11(a).


                                                     2
